 21-11018-tmd Doc#136 Filed 06/13/22 Entered 06/13/22 10:41:48 Pg 1 of 1




                       UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION




 IN RE:                                        §                          Case 21-11018
                                               §
 LOADCRAFT INDUSTRIES LTD                      §
                                               §
                                               §
 DEBTOR                                        §                              Chapter 11


                               WITHDRAWAL OF CLAIM

TO: CLERK OF THE COURT

The Texas Workforce Commission hereby withdraws its Administrative Expense Proof of

Claim No. 85 in the amount of $20,102.57, dated May 4th, 2022 which was filed with the

Court on May 4th, 2022 for Texas Workforce Commission Account No. XX-XXX716-0,

LOADCRAFT INDUSTRIES LTD.


Respectfully submitted, this 13th day of June, 2022.


                                                       By: /s/ Erin Reid
                                                         Erin Reid
                                                         Account Examiner
                                                         Texas Workforce Commission

                                             ###
